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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 TARA        HALL      AS       PERSONAL
 REPRESENTATIVE OF THE ESTATE OF
 MARCEL THEO HALL, and derivatively
 on behalf of Biz Markie, Inc.,
                                                  CASE NO: 1:22-cv-00806
        Plaintiff,

 vs.

 BIZ MARKIE, INC., a Washington, D.C.
 corporation, and JENNIFER IZUMI,
 individually,
        Defendants.


        AMENDED CONSENT NOTICE OF WITHDRAWAL OF PARAGRAPHS
                34 AND 113 OF THE AMENDED COMPLAINT

       In its February 9, 2023 Minute Order, this Court ordered Plaintiff to “submit briefing

addressing why she is the appropriate party-in-interest (i.e., has standing) to contest the life

insurance policies allegedly at issue. As part of the briefing, she shall clarify by what legal

authority she has become personal representative of Mr. Hall's estate.” The Court granted in part

Plaintiff’s Unopposed Motion for Extension of Time on March 23 (Dkt. No. 36), such that

Plaintiff’s briefing is due on April 10. Plaintiff submits this Consent Notice of Withdrawal of

Paragraphs 34 and 113 of the Amended Complaint as her responsive briefing.

       Paragraph 34 of the Complaint states, “In or about 2015, Mr. Hall purchased two $500,000

life insurance policies from Northwestern Mutual Life Insurance Company, and, while he was

alive, named his three nephews and niece as the sole beneficiaries. However, the month after he

was married, in or about November 2018, Defendant Izumi covertly applied to change the

ownership of the policies to one of her solely owned corporations, Balancing Acts, Inc., with
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 herself as the sole beneficiary of one of the policies and 40% beneficiary of the other, reducing

 Mr. Hall’s nephews’ and niece’s percentage to 20% each. These changes went into effect on

 January 24, 2019 – three (3) months after his wedding, and without his knowledge or consent.” In

 Count 8, Paragraph 113 avers, as one of Plaintiff’s numerous claims for Conversion, “Further,

 Defendant Izumi covertly applied to change the ownership of two $500,000 life insurance policies

 purchased by Mr. Hall to a) one of her solely owned corporations, and b) herself as the sole

 beneficiary depriving Mr. Hall of their cash surrender values.”


        As noted, in the Complaint Plaintiff alleges as damages the cash surrender values of the

 life insurance policies. In light of the amount in controversy with regard to the insurance policy

 claim and the amount of the fees associated with litigating it, Plaintiff has determined to withdraw

 this claim from her Complaint.

        For all of the above reasons, Plaintiff submits this Consent Notice of Withdrawal of

 Paragraphs 34 and 113 of the Amended Complaint.

                                         LCvR 7(m) Certification

        Counsel for Defendants have been consulted and consent to the relief sought herein.

DATED this 3rd day of April 2023.

                                                   Respectfully submitted,

                                                   /s/ Alan S. Clarke
                                                   Alan S. Clarke (Pro hac vice admitted)
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                                                   -and-
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 3rd day of April 2023, a copy of the foregoing was filed with

the Clerk of the Court using the CM/ECF system which will send notification of such filing to all

attorneys of record.


                                                    /s/ Alan S. Clarke
